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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                            :          CHAPTER 7
                                                     :
   ANGELIA THACKER COGLEY,                           :          CASE NO. 18-64049-BEM
                                                     :
             Debtor.                                 :

                                      REPORT OF SALE
            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                1.

            On December 1, 2020, the Trustee sold real property of the estate known as 461

   (and 321 and 0) Reavis Mountain Road, Ball Ground, GA 30107 (“Property”) to Matt

   Ragsdale (“Purchaser”) for $181,125.00 as ordered and approved by the Court on

   November 18, 2020 [Doc. No. 48].

                                                2.

            Attached hereto as Exhibit “A” is the Seller’s Settlement Statement from the sale.

   The Trustee reports that he has completed the delivery of the Property to the Purchaser

   and has received net funds of $81,173.91 from the sale.

            Respectfully submitted this 3rd day of December, 2020.

                                                             /s
                                                         S. Gregory Hays
   Hays Financial Consulting, LLC                        Chapter 7 Trustee
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
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                                  Exhibit “A”
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                                CERTIFICATE OF SERVICE

          I hereby certify that I am over the age of 18 and that on this day I served a copy of

   the foregoing REPORT OF SALE by first class U.S. Mail, with adequate postage prepaid

   on the following persons or entities at the addresses stated:

                  Office of the United States Trustee
                  362 Richard B. Russell Building
                  75 Ted Turner Drive, SW
                  Atlanta, GA 30303

                  Charles M. Clapp
                  Law Offices of Charles Clapp, LLC
                  5 Concourse Parkway, NE,
                  Suite 3000
                  Atlanta, GA 30328

                  Angelia Thacker Cogley
                  383 Antioch Road
                  Fayetteville, GA 30215


   Dated: December 3, 2020.

                                                             /s
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
